      0:22-cv-01870-SAL            Date Filed 06/13/22   Entry Number 1       Page 1 of 11




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 ROCK HILL DIVISION

APRIL WOODS, individually and on behalf of           ) Case No. 0:22-cv-01870-SAL
all others similarly situated,                       )
                                                     )
                      Plaintiff,                     )
                                                     )
v.                                                   )      COMPLAINT
                                                     )      JURY TRIAL DEMANDED
ABSOLUTE TOTAL CARE, INC., A South                   )
Carolina incorporation,                              )
                                                     )
                      Defendant.                     )
                                                     )
                                                     )




                               CLASS ACTION COMPLAINT

       Plaintiff April Woods (“Plaintiff” or “Woods”) brings this Class Action Complaint and

Demand for Jury Trial against Defendant Absolute Total Care, Inc. (“Defendant” or “Absolute

Total Care”) to stop the Defendant from violating the Telephone Consumer Protection Act by

making pre-recorded telemarketing calls to consumers without consent. Plaintiff also seeks

injunctive and monetary relief for all persons injured by Defendant’s conduct. Plaintiff Woods,

for this Complaint, alleges as follows upon personal knowledge as to herself and her own acts

and experiences, and, as to all other matters, upon information and belief, including investigation

conducted by her attorneys.

                                             PARTIES

       1.      Plaintiff April Woods is a resident of Rock Hill, South Carolina.

       2.      Defendant Absolute Total Care is a corporation headquartered in Columbia, South

Carolina. Defendant Absolute Total Care conducts business throughout this District and the US.
      0:22-cv-01870-SAL          Date Filed 06/13/22    Entry Number 1          Page 2 of 11




                                 JURISDICTION AND VENUE

       3.      This Court has federal question subject matter jurisdiction over this action under

28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C.

§227 (“TCPA”).

       4.      This Court has personal jurisdiction over the Defendant and the venue is proper

under 28 U.S.C. § 1391(b) because the Defendant resides in this District.

                                       INTRODUCTION

       5.      As the Supreme Court recently explained, “Americans passionately disagree

about many things. But they are largely united in their disdain for robocalls. The Federal

Government receives a staggering number of complaints about robocalls—3.7 million

complaints in 2019 alone. The States likewise field a constant barrage of complaints. For nearly

30 years, the people’s representatives in Congress have been fighting back.” Barr v. Am. Ass'n of

Political Consultants, No. 19-631, 2020 U.S. LEXIS 3544, at *5 (U.S. July 6, 2020).

       6.      When Congress enacted the TCPA in 1991, it found that Americans were

receiving more than 18 million robocalls every day. 105 Stat. 2394 at § 2(3).

       7.      By 2003, due to more powerful autodialing technology, Americans were receiving

more than 100 million robocalls every day. In re Rules and Regulations Implementing the TCPA

of 1991, 18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).

       8.      The problems Congress identified when it enacted the TCPA have only grown

exponentially in recent years.
         0:22-cv-01870-SAL    Date Filed 06/13/22       Entry Number 1     Page 3 of 11




         9.    Industry data shows that the number of robocalls made each month increased

from 831 million in September 2015 to 4.7 billion in December 2018—a 466% increase in three

years.

         10.   According to online robocall tracking service “YouMail,” 4.4 billion robocalls

were placed in March 2022 alone, at a rate of 140.8 million calls per day.

www.robocallindex.com (last visited April 4, 2022).

         11.   The FCC also has received an increasing number of complaints about unwanted

calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and 232,000 complaints in

2018. FCC, Consumer Complaint Data Center, www.fcc.gov/consumer-help-center-data.

         12.   “Robocalls and telemarketing calls are currently the number one source of

consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22, 2016),

statement of FCC chairman.1

         13.   “The FTC receives more complains about unwanted calls than all other

complaints combined.” Staff of the Federal Trade Commission’s Bureau of Consumer

Protection, In re Rules and Regulations Implementing the Telephone Consumer Protection Act of

1991, Notice of Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016).2

                                COMMON ALLEGATIONS

         14.   Defendant Absolute Total Care is a health insurance marketplace which provides

health insurance and Medicare options to consumers. 3




1
  https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls
2
  https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-ftc-bureau-
consumer-protection-federal-communications-commission-rules-
regulations/160616robocallscomment.pdf
3
  Id.
      0:22-cv-01870-SAL             Date Filed 06/13/22   Entry Number 1       Page 4 of 11




       15.      Defendant Absolute Total Care places telemarketing cold calls to prospective

consumers to solicit their health insurance products and/or services to the consumers.

       16.      Defendant Absolute Total Care places cold calls to consumers, including calls

using pre-recorded voice message calls, despite having never obtained the necessary consent

required to place the calls.

       17.      For example, in Plaintiff Woods’ case, the Defendants placed multiple pre-

recorded voice calls to Plaintiff Woods’ cell phone even though Woods never consented to

receive such calls from or on behalf of the Defendant.

       18.      There are multiple complaints posted online about unsolicited telemarketing calls

consumers received from or on behalf of Defendant Absolute Total Care, including calls

originating from, 866-433-6041, the same phone number as the Defendant used to call the

Plaintiff, and including calls using prerecorded voice messages as in the case of Plaintiff Woods,

for instance:




                                                                                               4



            “It's Absolute Total Care with a pre-recorded message about "your child's" need for a
             health check or immunizations. Not really threatening or forceful, but I don't have any
             children who are covered by ATC, so I'm not sure why they keep calling...” 5

            “Unsolicited call” 6


4
  https://www.google.com/search?q=absolute+total+care&rlz=1C5CHFA_enIN944IN944&oq=a
bsolute+total+care&aqs=chrome..69i57j46i175i199i512j0i512l3j69i60l2j69i61.3061j0j4&source
id=chrome&ie=UTF-8#lrd=0x88f8a4d4cf0047f3:0xaaebe68d0e439c58,1
5
   https://www.shouldianswer.com/phone-number/8664336041
      0:22-cv-01870-SAL          Date Filed 06/13/22    Entry Number 1         Page 5 of 11




            “Nuisance call” 7

            “selling insurance” 8




                                                                     9




                                                                                             10



       19.      Consumers have also posted multiple unsolicited pre-recorded voice messages

they received from Defendant Absolute Total Care, also from 866-433-6041 the same phone

number, which was used to call Plaintiff Wood’s cell phone, for instance: 11




6
  Id.
7
  Id.
8
  Id.
9
  https://callfilter.app/18664336041
10
   https://www.tellows.com/num/8664336041
11
   https://directory.youmail.com/directory/phone/8664336041
0:22-cv-01870-SAL   Date Filed 06/13/22   Entry Number 1   Page 6 of 11









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




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      0:22-cv-01870-SAL          Date Filed 06/13/22   Entry Number 1       Page 7 of 11




       

       20.     In response to these calls, Plaintiff Woods files this lawsuit seeking injunctive

relief requiring the Defendant to cease from violating the Telephone Consumer Protection Act,

as well as an award of statutory damages to the members of the Class and costs.

                            PLAINTIFF WOODS’ ALLEGATIONS

       21.     Plaintiff Woods is the subscriber of the cell phone number ending xxx-xxx-2035.

       22.     In around November or December 2021, Plaintiff started receiving calls to her

cell phone from the Defendant using prerecorded voice messages, soliciting Defendant’s health

insurance products or services to the Plaintiff.

       23.     On December 8, 2021, at 10:13 AM, Plaintiff received an unsolicited call to her

cell phone from the phone number 866-433-6041. Plaintiff answered the call, and a pre-recorded

voice message was playing, soliciting health insurance plans from the Defendant. Plaintiff could

not speak to a live agent on the call.

       24.     On calling the phone number 866-433-6041, it is answered by an automated voice

message which identifies the Defendant Absolute Total Care.

       25.     Plaintiff Woods does not have an existing business relationship with Defendant

Absolute Total Care, and did not consent to receive pre-recorded voice messages from or on

behalf of the Defendant.
      0:22-cv-01870-SAL        Date Filed 06/13/22      Entry Number 1        Page 8 of 11




       26.     The unauthorized solicitation telephone calls that Plaintiff received from

Defendant have harmed Plaintiff Woods in the form of annoyance, nuisance, and invasion of

privacy, occupied her phone line, and disturbed the use and enjoyment of her phone, in addition

to the wear and tear on the phone’s hardware (including the phone’s battery), the consumption of

memory on the phone.

       27.     Seeking redress for these injuries, Plaintiff Woods, on behalf of herself and a

Class of similarly situated individuals, brings suit under the TCPA.

                                       CLASS ALLEGATIONS

       28.     Plaintiff Woods brings this action pursuant to Federal Rules of Civil Procedure

23(b)(2) and 23(b)(3) and seeks certification of the following Class:

       Pre-recorded No Consent Class: All persons in the United States who from four years
       prior to the filing of this action through class certification (1) Defendant Absolute Total
       Care called (2) on their cellular telephone number (3) using the same or a similar
       artificial or pre-recorded voice messages used to call Plaintiff.


       29.     The following individuals are excluded from the Class: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, its

subsidiaries, parents, successors, predecessors, and any entity in which either Defendant or their

parents have a controlling interest and their current or former employees, officers and directors;

(3) Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Class; (5) the legal representatives, successors or assigns of any such excluded persons;

and (6) persons whose claims against the Defendant have been fully and finally adjudicated

and/or released. Plaintiff Woods anticipates the need to amend the Class definition following

appropriate discovery.
         0:22-cv-01870-SAL      Date Filed 06/13/22      Entry Number 1    Page 9 of 11




         30.   Numerosity and Typicality: On information and belief, there are hundreds, if not

thousands of members of the Class such that joinder of all members is impracticable, and

Plaintiff is a member of the Class.

         31.   Commonality and Predominance: There are many questions of law and fact

common to the claims of the Plaintiff and the Class, and those questions predominate over any

questions that may affect individual members of the Class. Common questions for the Class

include, but are not necessarily limited to the following:

         (a)   Whether Defendant made calls using a prerecorded voice message;

         (b)   whether Defendant made these calls without consent;

         (c)   whether the calls violate the TCPA;

         (d)   whether members of the Class are entitled to treble damages based on the

               willfulness of Defendant’s conduct.

         32.   Adequate Representation: Plaintiff Woods will fairly and adequately represent

and protect the interests of the Class, and has retained counsel competent and experienced in

class actions. Plaintiff Woods has no interests antagonistic to those of the Class, and the

Defendant has no defenses unique to Plaintiff. Plaintiff Woods and her counsel are committed to

vigorously prosecuting this action on behalf of the members of the Class, and have the financial

resources to do so. Neither Plaintiff Woods nor her counsel have any interest adverse to the

Class.

         33.   Appropriateness: This class action is also appropriate for certification because

the Defendant has acted or refused to act on grounds generally applicable to the Class and as a

whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the members of the Class and making final class-wide injunctive relief
     0:22-cv-01870-SAL           Date Filed 06/13/22     Entry Number 1       Page 10 of 11




appropriate. Defendant’s business practices apply to and affect the members of the Class

uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with

respect to the Class as a whole, not on facts or law applicable only to Plaintiff Woods.

Additionally, the damages suffered by individual members of the Class will likely be small

relative to the burden and expense of individual prosecution of the complex litigation

necessitated by Defendant’s actions. Thus, it would be virtually impossible for the members of

the Class to obtain effective relief from Defendant’s misconduct on an individual basis. A class

action provides the benefits of single adjudication, economies of scale, and comprehensive

supervision by a single court.

                                              COUNT I
                                Telephone Consumer Protection Act
                                    (Violation of 47 U.S.C. § 227)
               (On Behalf of Plaintiff Woods and the Pre-recorded No Consent Class)

         34.      Plaintiff Woods repeats and realleges the prior paragraphs of this Complaint and

incorporates them by reference herein.

         35.      Defendant Absolute Total Care and/or its agents transmitted unwanted telephone

calls to Plaintiff Woods and the other members of the Pre-recorded No Consent Class using a

pre-recorded voice message.

         36.      These pre-recorded voice calls were made en masse without the prior express

written consent of the Plaintiff Woods and the other members of the Pre-recorded No Consent

Class.

         37.      The Defendant has, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii). As a result

of Defendant’s conduct, Plaintiff Woods and the other members of the Pre-recorded No Consent

Class are each entitled to a minimum of $500 in damages, and up to $1,500 in damages, for each

violation.
     0:22-cv-01870-SAL          Date Filed 06/13/22       Entry Number 1        Page 11 of 11




                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the

following relief:

       a)      An order certifying this case as a class action on behalf of the Class as defined

            above; appointing Plaintiff as the representative of the Class; and appointing her

            attorneys as Class Counsel;

       b)      An award of damages and costs;

       c)      An order declaring that Defendant’s actions, as set out above, violate the TCPA;

       d)      An injunction requiring Defendant to cease all unsolicited calling activity, and to

            otherwise protect the interests of the Class; and

       e)      Such further and other relief as the Court deems just and proper.

                                          JURY DEMAND

       Plaintiff Woods requests a jury trial.

                                                APRIL WOODS, individually and on behalf of all
                                                others similarly situated,


DATED this 13th day of June, 2022.

                                                /s/ V. Elizabeth Wright
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                                                Attorneys for Plaintiff and the putative Class
